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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------------------X   Case No. 21-759

 People of the State of New York, by LETITIA JAMES,
 Attorney General of the State of New York,

                                             Plaintiff,

                           -against-

 NIAGARA WHEATFIELD CENTRAL SCHOOL DISTRICT,

                                             Defendant.

 ----------------------------------------------------------------------------X

                                          NOTICE OF APPEAL


        Notice is hereby given that Plaintiff State of New York, by Letitia James, Attorney

General of the State of New York, hereby appeals to the United States Court of Appeals for the

Second Circuit from the Decision and Order in this action dated August 26, 2022 (ECF No. 52),

which accepted and adopted, in part, the Report and Recommendation issued on May 11, 2020

(ECF No. 41), granted Defendant’s Motion for Judgment on the Pleadings (ECF No. 34) without

prejudice; declined to exercise supplemental jurisdiction over Plaintiff’s state law negligent

supervision claim; and denied Plaintiff leave to file a second amended complaint.



Dated: September 26, 2022                  Respectfully submitted,

                                                    LETITIA JAMES
                                                    Attorney General of the State of New York

                                           By:      /s/ Sandra Pullman

                                                    Sandra Pullman
                                                    Senior Counsel
                                                    Office of the New York State Attorney General
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